     Case 4:25-cv-01824-JST       Document 47-8           Filed 03/03/25   Page 1 of 14



 1   JENNIFER C. PIZER (SBN 152327)                        CAMILLA B. TAYLOR*
     jpizer@lambdalegal.org                                ctaylor@lambdalegal.org
 2   PELECANOS*                                            KENNETH D. UPTON, JR*
     pelecanos@lambdalegal.org                             kupton@lambdalegal.org
 3   LAMBDA LEGAL DEFENSE AND                              LAMBDA LEGAL DEFENSE AND
 4   EDUCATION FUND, INC.                                  EDUCATION FUND, INC.
     800 South Figueroa Street, Suite 1260                 3656 North Halsted Street
 5   Los Angeles, California 90017-2521                    Chicago, Illinois 60613-5974
     Telephone: (213) 382-7600                             Telephone: (312) 663-4413
 6
     JOSE ABRIGO*                                          KAREN L. LOEWY*
 7   jabrigo@lambdalegal.org                               kloewy@lambdalegal.org
 8   OMAR GONZALEZ-PAGAN*                                  LAMBDA LEGAL DEFENSE AND
     ogonzalez-pagan@lambdalegal.org                       EDUCATION FUND, INC.
 9   LAMBDA LEGAL DEFENSE AND                              815 16th Street NW, Suite 4140
     EDUCATION FUND, INC.                                  Washington, DC 20006-4101
10   120 Wall Street, 19th Floor                           Telephone: (202) 804-6245
     New York, New York 10005-3919
11   Telephone: (212) 809-8585                             *Appearance Pro Hac Vice

12
                                             Counsel for Plaintiffs
13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF JESSYCA
                                     Plaintiffs,           LEACH, CHIEF EXECUTIVE
18
                                                           OFFICER OF PRISMA COMMUNITY
19          v.                                             CARE, IN SUPPORT OF PLAINTIFF’S
                                                           COMPLAINT AND MOTION FOR
     DONALD J. TRUMP, in his official capacity as          PRELIMINARY INJUNCTION
20     President of the United States, et al.
21
                                     Defendants.
22

23

24

25

26

27

28

                 DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                   AND MOTION FOR PRELIMINARY INJUNCTION CASE NO. 4:25-cv-1824 JTS
           Case 4:25-cv-01824-JST           Document 47-8         Filed 03/03/25      Page 2 of 14




            I, Jessyca Leach, declare as follows:
 1

 2          1. I am the Chief Executive Officer of Prisma Community Care, a nonprofit 501(c)(3)

 3   organization and health and wellness clinic based in Phoenix, Arizona. As one of Phoenix’s largest

 4   and longest standing 2SLGBTQIA+ health centers, we offer affirming and inclusive services to
 5
     promote well-being and advance health equity for diverse communities, particularly people of
 6
     color, 2SLGBTQIA+ individuals, and those affected by HIV. Our commission is to offer
 7
     compassionate care to all who seek it. Prisma Community Care was previously known as
 8
     Southwest Center for HIV/AIDS, Inc. and adopted its new name on January 1, 2025.
 9

10          2. I submit this Declaration in support of Plaintiffs’ Complaint and Motion for a

11   Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
12   enforcing Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and
13
     Restoring Biological Truth to the Federal Government” (“Gender Order”), issued January 20, 2025;
14
     Executive Order No. 14151 “Ending Radical and Wasteful DEI Programs and Preferencing”
15
     (“DEI-1 Order”), issued January 20, 2025; and Executive Order No. 14173 “Ending Illegal
16

17   Discrimination and Restoring Merit-Based Opportunity” (“DEI-2 Order”), issued January 21,

18   2025 (collectively, the “Executive Orders”), and related agency directives that seek to enforce

19   these Presidential actions.
20          3. Prisma Community Care was founded in 1990 and has proudly served as a leader in
21
     providing affirming, inclusive healthcare for marginalized communities. At Prisma Community
22
     Care, we envision a just and equitable world where who we are is embraced in all spaces –
23
     especially in barrier-free access to health and wellness – leading each of us to live a full, rich, and
24

25   authentic life. Prisma Community Care provides a safe, welcoming environment where community

26   members can always expect respectful and compassionate care from our dedicated staff.

27

28                                                     1
                DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                   AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST          Document 47-8        Filed 03/03/25      Page 3 of 14




            4. Prisma Community Care focuses on the following values: we are person-centered, we
 1

 2   incorporate humility into our services, we integrate intersectionality, we provide leadership

 3   through innovation, we will act with integrity, we are collaborative and community-focused, and

 4   we are committed to wellness.
 5
            5. Prisma Community Care’s services include primary care services, low- to no-cost HIV
 6
     testing, rapid start initiation for HIV treatment, STI testing, PrEP and nPEP therapy and navigation,
 7
     family planning services, comprehensive gender affirming care, mental health services, nutrition
 8
     services, outreach and education, and other important community services consistent with and in
 9

10   furtherance of our mission. Prisma Community Care also hosts a “safe space” that includes open

11   hours, events, and affinity group meetings, including the Committee for Culture, Education,
12   Diversity, and Inclusion (CEDI), Gender Expansive Group, and Latinx Group. Each year, we serve
13
     over 30,000 people in Arizona.
14
            6.      Prisma Community Care provides annual cultural competency in healthcare
15
     training for all staff, with many also enhancing their knowledge through trauma-informed care
16

17   training. There are six primary objectives of our cultural competency in healthcare training: 1)

18   learn how cultural competency can improve health outcomes, 2) define cultural competency in

19   health care, 3) comprehend the language communication barriers, 4) gain knowledge of limited
20   English proficiency (LEP), 5) summarize the 15 CLAS standards, and 6) identify family-centered
21
     and culturally competent care. We also provide opportunities for further training. For example, in
22
     September 2024, we offered a Minority Stress and Gender Expansive Identities training, in May
23
     2024, an Implicit Bias training, and in January 2023, an Introduction to Anti-Racist Clinical Care
24

25   training. Many of our practices may be considered to promote “diversity, equity, inclusion, and

26   accessibility” under the Executive Orders.

27

28                                                    2
                 DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                    AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST           Document 47-8        Filed 03/03/25      Page 4 of 14




             7.      Prisma Community Care teams are comprised of individuals who reflect the
 1

 2   community we serve. Prisma Community Care emphasizes the importance of having a staff that is

 3   reflective of the community in its hiring process and policies, ensuring that its direct service staff

 4   have past work and volunteer experience with members of target populations and/or have lived
 5
     experience. Nearly 24% of Prisma Community Care’s staff speak a second language; all services
 6
     provided are offered in English, Spanish, and ASL.
 7
             8.      By having this representation, Prisma Community Care can build trust with
 8
     vulnerable communities, such as transgender and gender-expansive individuals, Black, Latinx,
 9

10   Indigenous, and other communities of color, and women of color. This range of experiences and

11   identities strengthens Prisma Community Care’s ability to provide patient-centered care to clients
12   and relate with staff and the community. This also creates an exceptionally strong team that
13
     cultivates a culture of meeting clients where they are and using a harm reduction approach to help
14
     clients achieve their goals. We focus on understanding gender diversity and the culture of
15
     communities of color because it is the right thing to do, and it improves the health outcomes of our
16

17   patients.

18           9.      Currently, Prisma Community Care receives over three million dollars in federal

19   funding, either directly or as pass-through funding through state agencies like the Arizona
20   Department of Health Services (ADHS). The majority of this funding is from subagencies of the
21
     U.S. Department of Health and Human Services (HHS), including the U.S. Centers for Disease
22
     Control and Prevention (CDC) and Substance Abuse and Mental Health Services Administration
23
     (SAMHSA). We also receive federal funds under the Ryan White HIV/AIDS Program for HIV
24

25   treatment and under Title X for family planning services.

26
27

28                                                     3
                  DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                     AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST           Document 47-8        Filed 03/03/25      Page 5 of 14




            10.      Most of our federal funding explicitly requires us to participate in activities and to
 1

 2   employ affirming language that appear to be considered “diversity, equity, inclusion, or

 3   accessibility” efforts according to the Executive Orders.

 4          11.      Under the CDC 24 grant, otherwise known as “Ways to Scale Up Prevention” grant,
 5
     Prisma Community Care is required to provide affirming, stigma and discrimination-free HIV
 6
     prevention and linkage to care services for our four priority populations and three groups of interest
 7
     facing health disparities and disproportionately impacted by the syndemic of HIV and STIs in
 8
     Maricopa County. Those priority populations are 1) gay, bisexual, and other Men who have Sex
 9

10   with Men (MSM), especially of color; 2) youth, ages 13 to 34 years old, especially of color; 3)

11   gender expansive persons, defined as a variety of gender identities, experiences, and does not refer
12   to sexual preference or orientation (e.g., two-spirit, transgender, nonbinary, etc.); and 4)
13
     individuals who use or have used substances. HIV, STIs, and Hepatitis C impact these populations
14
     more, according to surveillance data. Additionally, “groups of interest” were identified through an
15
     Arizona statewide survey, focus groups, and community-based health events. Groups of interest
16

17   are based on individuals who need increased support and face health inequities when accessing

18   quality prevention and care services as follows: A) persons of color; B) persons experiencing

19   mental health challenges; and C) persons experiencing housing instability or homelessness. These
20   priority populations and groups of interest are identified in the AZ 2022-2026 HIV/STI/HEP C
21
     Integrated Plan Report with a syndemic approach to STIs/Hep C to better address Maricopa
22
     County’s Ending the HIV Epidemic (EHE) goals.
23
            12.      Under the “Minority AIDS Initiative: Substance Use Disorder Treatment for
24

25   Racial/Ethnic Minority Populations at High Risk for HIV/AIDS” grant, Prisma Community Care

26   must address substance use disorder needs for specific populations and subpopulations. We are

27

28                                                     4
                  DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                     AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST           Document 47-8         Filed 03/03/25      Page 6 of 14




     mandated to report on the specific needs of these underserved populations and the barriers faced
 1

 2   by subpopulations.

 3          13.      Under the “Ryan White Part B” grant, the grant acknowledges that “clinical

 4   facilities are more likely to serve minority populations, which are disproportionately impacted by
 5
     HIV and have formed unique relationships not only with these most vulnerable populations but
 6
     also within the community where the facility is located. Because of this, clinical facilities can offer
 7
     routine HIV testing in ways that other entities cannot.” Under this grant, Prisma Community Care
 8
     is required to provide free HIV testing services to the following priority populations: White, Black
 9

10   and Latinx MSM, especially youth; Latinx people of all genders; African Americans of all genders;

11   and Transgender and gender non-conforming individuals.
12          14.      Under the “PrEP & nPEP” grant, the scope of services requires that Prisma
13
     Community Care “prioritize access to PrEP with target populations.” In our grant application,
14
     Prisma Community Care specified that our marketing team creates PrEP and nPEP campaigns to
15
     raise awareness of the advantages of PrEP and nPEP by targeting different underserved
16

17   populations, such as Black, transgender and gender non-conforming, Latinx, and Indigenous

18   communities. The application also explains that Prisma Community Care’s core competencies of

19   the PrEP and nPEP navigation services include trauma-informed care, cultural humility, harm
20   reduction, anti-racism, LGBTQIA+ community and culture, and BIPOC community and culture.
21
            15.      Under the “Ending the Epidemic, Condom Distribution” grant, the program
22
     implementation requires Prisma Community Care to “increase normalization of condom use as an
23
     HIV prevention intervention among key populations.” The grant defines key populations to include
24

25   “gay, bisexual and other MSM, especially of color; young person’s ages thirteen (13) through

26   thirty-four (34), especially of color; and gender expansive persons.” Under this grant, Prisma

27

28                                                     5
                  DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                     AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST         Document 47-8        Filed 03/03/25      Page 7 of 14




     Community Care has to submit activity reports to “ensure that key populations are receiving
 1

 2   services.”

 3           16.      In all of our grant terms and conditions, we are mandated to comply with all

 4   applicable Federal and State laws, rules, and regulations. The terms and conditions also require
 5
     Prisma Community Care to follow the anti-discrimination mandates in Title VI of the Civil Rights
 6
     Act of 1964, Section 504 of Rehabilitation Act of 1973, Title II of the Americans with Disabilities
 7
     Act of 1990, the Age Discrimination Act of 1975, Title IX of the Education Amendment of 1972,
 8
     as well as Section 1557 of the Affordable Care Act, and that we agree “that no individual will be
 9

10   turned away from or otherwise denied access” based on race, color, national origin, age, sex, or

11   disability.
12           17.      On January 28, 2025, the day after the Office of Management and Budget (OMB)
13
     issued a memorandum declaring a freeze on grant funding, Prisma Community Care logged into
14
     the grant portal and received the portal message that “access has been shut down.” Prisma
15
     Community Care was unable to access the funds for two CDC grants and a SAMHSA grant. Our
16

17   program officers for the three grants did not have any information. Prisma Community Care then

18   convened an emergency meeting to discuss grant funding.

19           18.      On January 29, 2025, Prisma Community Care received a message in our funding
20   portal demanding we cease DEI activities on our CDC funded activities. The message said that our
21
     CDC award is funded in whole or in part with United States Government funds. Then it said, to
22
     implement the DEI Executive Orders, Prisma Community Care must “immediately terminate, to
23
     the maximum extent, all programs, personnel, activities, or contracts promoting ‘diversity, equity,
24

25   and inclusion’ (DEI) at every level and activity” that was supported by our CDC funds. A copy of

26   this notice is attached hereto as Exhibit A. Again, Prisma Community Care had an emergency

27   meeting about grant funding. Without access to our federal funding, we would need to lay off
28                                                   6
                   DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                      AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST         Document 47-8        Filed 03/03/25     Page 8 of 14




     almost 40% of our staff by the following week. In response to the troubling funding freeze news,
 1

 2   Prisma Community Care submitted five requests, totaling $878,147.84, for our grant funding.

 3          19.      On January 30, 2025, one of Prisma Community Care’s funding requests for

 4   $45,000 cleared, and the other four requests were stuck with a “pending review” status. Once again,
 5
     we were locked out of our grant portal with a portal message saying, “access has been shut down.”
 6
            20.      On January 31, 2025, Prisma Community Care received a second message through
 7
     the funding portal demanding we cease activities promoting “gender ideology.” The message said
 8
     that our CDC award is funded in whole or in part with United States Government funds. Then it
 9

10   said, to implement the Gender Order, and in accordance with the Office of Personnel

11   Management’s Initial Guidance, Prisma Community Care had to “immediately terminate, to the
12   maximum extent, all programs, personnel, activities, or contracts promoting or inculcating gender
13
     ideology at every level and activity” that was supported by our CDC funds. It continued that “any
14
     vestige, remnant, or re-named piece of any gender ideology programs funded by the U.S.
15
     government under this award are immediately, completely, and permanently terminated.” A copy
16

17   of this notice is attached hereto as Exhibit B. Our four funding requests were still stuck in the

18   “pending review” status. Prisma Community Care received one additional email stating we have

19   submitted a “larger than usual payment request.” This was the first time Prisma Community Care
20   had received a message about the funding amount, the federal employee questioned how much
21
     time it would take the organization to spend the funds. The federal employee said they “would like
22
     assurance” that the funds would be used within three working days. In response, Prisma
23
     Community Care cancelled the requests and resubmitted the requests with amounts similar to
24

25   previous months. The Prisma Community Care Board of Directors had an emergency meeting

26   about grant funding.

27

28                                                   7
                  DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                     AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
           Case 4:25-cv-01824-JST          Document 47-8          Filed 03/03/25    Page 9 of 14




            21.      On February 3, 2025, Prisma Community Care submitted a help ticket request to
 1

 2   customer support because our funding was still pending. The responsive email said that “the

 3   payment request generally posts the next business day.” It also said that if payments are not

 4   received after one business day, it is likely “due to the Executive Orders regarding potentially
 5
     unallowable grant payments.” Prisma Community Care withdrew the funding requests and
 6
     resubmitted them.
 7
            22.      On February 5, 2025, Prisma Community Care received the grant funding requests
 8
     in amounts similar to a typical monthly withdrawal.
 9

10          23.      On February 21, 2025, Prisma Community Care received an email from the CDC

11   explaining that our program officer was terminated during the mass layoffs more than a week prior.
12   However, our program officer was silent or had little to share even before he was terminated. The
13
     last time we had a call with him was January 28, and we exchanged a few emails on February 3.
14
            24.      Uncertain about Prisma Community Care’s future ability to access our grant
15
     funding, we have decided to take funds out of our account on a weekly basis.
16

17          25.      The stress of yo-yoing access of Prisma Community Care’s federal funding has left

18   us confused and concerned about the potential impact on our operations, staff, and the quality of

19   patient-centered care we provide. We are unsure if there is any way to maintain access given that
20   so many aspects of our operation depend on an equitable approach to the provision of health care,
21
     and respectful acknowledgement of the dignity of transgender people. If we uphold our evidence-
22
     based, patient-centered care practices, then we might lose our funding. If we attempt to adhere to
23
     these Executive Orders by fundamentally altering our organizational identity and approach to
24

25   whole-person care, it would compromise our high medical standards for providing medically

26   necessary care, ultimately causing our patients to suffer.

27

28                                                    8
                  DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                     AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
          Case 4:25-cv-01824-JST         Document 47-8       Filed 03/03/25      Page 10 of 14




            I declare under penalty of perjury under the laws of the United States of America that the
 1

 2   foregoing is true and correct.

 3
                      25 2025
     Dated: February __,                            Respectfully submitted,
 4

 5
                                                    Jessyca Leach
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28                                                  9
                DECLARATION OF JESSYCA LEACH IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                   AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
Case 4:25-cv-01824-JST   Document 47-8   Filed 03/03/25   Page 11 of 14




                 EXHIBIT A
      Case 4:25-cv-01824-JST            Document 47-8          Filed 03/03/25        Page 12 of 14




January 29, 2025



Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement Executive Orders entitled Ending Radical and Wasteful Government DEI Programs and
Preferencing and Initial Rescissions of Harmful Executive Orders and Action, you must immediately
terminate, to the maximum extent, all programs, personnel, activities, or contracts promoting “diversity,
equity, and inclusion” (DEI) at every level and activity, regardless of your location or the citizenship of
employees or contractors, that are supported with funds from this award. Any vestige, remnant, or re-
named piece of any DEI programs funded by the U.S. government under this award are immediately,
completely, and permanently terminated.

No additional costs must be incurred that would be used to support any DEI programs, personnel, or
activities.

If you are a global recipient and have previously received this notification regarding DEI activities, please
follow those instructions accordingly.
Case 4:25-cv-01824-JST   Document 47-8   Filed 03/03/25   Page 13 of 14




                 EXHIBIT B
      Case 4:25-cv-01824-JST            Document 47-8          Filed 03/03/25        Page 14 of 14




Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement the Executive Order entitled Defending Women From Gender Ideology Extremism And
Restoring Biological Truth To The Federal Government (Defending Women From Gender Ideology
Extremism And Restoring Biological Truth To The Federal Government – The White House), and in
accordance with Office of Personnel Management’s Initial Guidance (Memorandum to Heads and Acting
Heads of Departments and Agencies: Initial Guidance Regarding President Trump’s Executive Order
Defending Women), you must immediately terminate, to the maximum extent, all programs, personnel,
activities, or contracts promoting or inculcating gender ideology at every level and activity, regardless of
your location or the citizenship of employees or contractors, that are supported with funds from this
award. Any vestige, remnant, or re-named piece of any gender ideology programs funded by the U.S.
government under this award are immediately, completely, and permanently terminated.

No additional costs must be incurred that would be used to support any gender ideology programs,
personnel, or activities.

Any questions should be directed to PRISM@cdc.gov
